
Harvard Medical, P.C., as Assignee of LENFORD CARTY, Appellant, -
againstTri State Consumers Ins. Co., Respondent.



Appeal from an order of the Civil Court of the City of New York, Kings County (Harriet L. Thompson, J.), entered April 12, 2013. The order granted defendant's motion for summary judgment.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, defendant moved for summary judgment dismissing the complaint, arguing that it had fully paid plaintiff in accordance with the workers' compensation fee schedule. The Civil Court granted defendant's motion.
For the reasons stated in Renelique, as Assignee of Yvon Delgado v Tri State Consumers Ins. Co. (___ Misc 3d ___, 2016 NY Slip Op ___ [appeal No. 2013-1709 Q C], decided herewith), the order is affirmed.
Pesce, P.J., Aliotta and Solomon, JJ., concur.
Decision Date: June 03, 2016










